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                                        IN THE UNITED STATES DISTRICT COURT
                                            WESTERN DISTRICT OF ARKANSAS
                                                 FORT SMITH DIVISION

                   UNITED STATES OF AMERICA                                                      PLAINTIFF

                   v.                         Case No. 05-20038-003 & 004

                   FELIX HERRERA, JR. and DAVID HERRERA                                         DEFENDANTS


                                                             ORDER

                         On    this    20th    day   of   October      2005,     there       comes   on   for

                   consideration the reports and recommendations (Docs. 242-43) filed

                   in these cases on October 12, 2005, by the Honorable Beverly Stites

                   Jones,     United    States    Magistrate        for   the    Western      District     of

                   Arkansas.      No objections have been filed to the reports and

                   recommendations.

                         The    court    has     reviewed      this    case     and,    being    well     and

                   sufficiently        advised,      finds     as    follows:          The    reports     and

                   recommendations are proper and should be and hereby are adopted in

                   their entirety. Accordingly, Defendants’ motions for a preliminary

                   James hearing (Docs. 233 & 240) should be and hereby are DENIED.

                         IT IS SO ORDERED.

                                                                     /s/ Robert T. Dawson
                                                                     Robert T. Dawson
                                                                     United States District Judge




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(Rev. 8/82)
